Case 1:21-cv-00385-JDW Document 207-1 Filed 10/19/23 Page 1 of 2 PageID #: 9719




                        EXHIBIT 3
Case 1:21-cv-00385-JDW Document 207-1 Filed 10/19/23 Page 2 of 2 PageID #: 9720
       HIGHLY CONFIDENTIAL - OUTSIDE ATTORNEYS' EYES ONLY
  RESTRICTED –ATTORNEYS’ EYES ONLY – SUBJECT TO PROTECTIVE ORDER

                              UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TEXAS
                                     TYLER DIVISION

   LOGANTREE LP                                       §
                                                      §
             Plaintiff,                               §
                                                      §
   v.                                                 § Civil. Action No. 6:21-CV-00119-JDK
                                                      §
                                                      § JURY TRIAL DEMANDED
   HUAWEI DEVICE CO., LTD, and                        §
   AND HUAWEI DEVICE USA INC.                         §
                                                      §
             Defendants.

                             DECLARATION OF SHERRY LIANG

        I, Sherry Liang, hereby declare as follows:

        1.        I am the Chief Financial Officer of Huawei Device USA Inc. The statements

 herein are based on my personal knowledge and investigation.

        2.        I investigated sales in the United States from March 15, 2015 through November

 21, 2017 for the Talkband B2, Talkband B3, Huawei Band 2, and Huawei Fit (“accused

 products”). Searches were run on Huawei’s databases to determine the total number of units of

 the accused products and the total revenue. The data from Huawei’s databases indicate that

 approximately 28725 units were sold in the United States in that time frame, and approximately

 $ 2.24 million of revenue were generated from those sales.

        I declare under penalty of perjury under the laws of the United States of America that the

 foregoing is true and correct.



                      26 2022
 Executed on: January ____,

                                                  ____________________________
                                                  Sherry Liang




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                                                   Logantree 026
